Case 3:22-cr-00026-GMG-RWT Document 201 Filed 05/27/22 Page 1 of 2 PageID #: 461



                            UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

   UNITED STATES OF AMERICA,

   V.
                                                                 Criminal Action No. 3:22-CR-26
   CHARLES EDWARD SCOTT, aka
   Whop Whop, et al.,

                 Defendants.




                         Order Granting Motion for Protective Order

               The United States of America and William Ihienfeld, United States Attorney for

        the Northern District ofWest Virginia, by Assistant United States Attorney Lara K. Omps

        Botteicher, has moved for an order protecting the disclosure ofcertain discovery materials.

        For good cause therein shown, this Court

               ORDERS that defense counsel is hereby PROHIBITED from giving to the

        defendant or to any person outside the defense team, copies of disclosed discovery

        materials which (1) identify informants and cooperating witnesses, (2) contain digital data

        from an electronic device or media such as cell phones and social media accounts,

        including Title III interceptions, (3) marked highly sensitive documents, (4) covert audio

        and video recordings of controlled purchases to prevent the possibility of dissemination to

        other persons, (5) body-worn camera footage, and (6) disclosures made pursuant to

        Jencks/Giglio.

               It is further ORDERED that should any defendant have a specific reason to object

        to this motion, counsel may do so and the Court will consider the motion.
Case 3:22-cr-00026-GMG-RWT Document 201 Filed 05/27/22 Page 2 of 2 PageID #: 462



               This ORDER shall remain in effect until further order of the Court.

               It is further ORDERED that copies of this ORDER be provided to all counsel of

     record.

               DATED:     ill    37 2c22-



                                                                on. Robert W. Trumble
                                                               United States Magistrate Judge
